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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:06CR159
                                                  )
LUIS GALVAN,                                      )          SCHEDULING ORDER
                                                  )
                       Defendant.                 )



         UPON THE ORAL MOTION OF THE DEFENDANT,

       IT IS ORDERED that the Initial Appearance and Arraignment is continued to June 2,
2006 at 3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 22nd day of May, 2006.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
